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IN THE UNITED STATES BANKRUPTCY C()URT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter ll
MATTRESS FIRM, INC., : Case No. 18-12241 (CSS)
et al., '

Debtors. : (Jointly Administered)

 

OBJECTION OF COLUMBUS N()RTH ASSOC!ATES, LP,
BLUE M()UNTAIN IPG ASSOCIATES, PENNSYLVANIA REAL
ESTATE INVESTMENT TRUST, GOODMILL, LLC, GOOD-WASH
PROPERTIES, LLC, NORTH BALTIMORE REALTY ASSOCIATES, AND
AIRPORT ASSOCIATES, LP TO DEBTORS’ NOTICE OF CURE
AMOUNTS RELATING TO UNEXPIRED LEASES THAT
THE DEBTORS MAY ASSUME PURSUANT TO THE PLAN
Columbus North Associates, LP (“Columbus North”), Blue Mountain IPG Associates
(“Blue Mountain”), Pennsylvania Real Estate Investment Trust (“PREIT”), Goodniill, LLC,
Good-Wash Properties, LLC, North Baltirnore Realty Associates, and Airport Associates, LP
(collectively, the “Objecting Landlords”), by and through their undersigned attorneys, hereby tile
their objection to the cure amounts set_forth in the respective Notice of Cure Amounts Relating
to Unexpired Leases that the Debtors l\/Iay Assurne Pursuant to the Plan (each, a “Cure Notice”),
and respectfully represent in support thereof as follows:
BACKGROUND
l. On October 5, 2018 (the “Petition Date”), the above-captioned debtors
(collectively, the “Debtors”) filed voluntary petitions for reorganization pursuant to Chapter ll
of Title ll of the United States Code (the “Bankruptcy Code”). Since the Petition Date, the

Debtors have continued to manage their properties and operate their businesses as debtors-in~

possession pursuant to §§1107 and 1108 of the Bankruptcy Code.

 

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2. The Objecting Landlords are lessors under leases of nonresidential real property
as to which one of the Debtors is the lessee.

3. On the Petition Date, the Debtors filed a Joint Prepackaged Plan of
Reorganization (the “Plan”). Pursuant to the Plan, the Debtors will assume certain nonresidential
real property leases.

4. On October 22, 2018, the Objecting Landlords received the respective Cure
Notices annexed hereto and made a part hereof as EXhibits “A” through “G”, which indicate that
the Debtors’ leases with the Obj ecting Landlords may be assumed

5. While the Objecting Landlords do not object to the confirmation of the Plan or the
assumption of their respective leases, they hereby object to the stated cure amounts described in
the Cure Notices.

RELIEF REOUESTED

6. The discrepancies between the stated cure amounts and the actual amounts
required to cure defaults under the Objecting Landlords’ leases as of October 9, 2018 (the
“Actual Claim Amounts”), which include unpaid pre- and post-petition amounts presently due

under such leases, are illustrated in the following chart:

 

 

 

 

 

 

 

 

 

 

 

Landlord Actual Claim Stated Cure Discrepancy
Amount Amount
A. Columbus North $19,845.49 $17,452.22 $2,393.22
B. Blue Mountain $24,063.27 $12,972.00 $11,091.27
C. PREIT $32,885.85 313,764.05 $19,121.90
D. Goodmill, LLC $28,485.52 $16,455.36 $12,030.16
E. GooCd-Wash Properties, $32,213.35 312,084.26 $20,129.09
LL

 

 

 

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F. North Baltimore Realty $33,450.91 $13,556.77 $19,894.14
Associates
G. Airport Associates, LP $42,915.07 $18,571.13 $24,343 .94
7. Detailed summaries of the Actual Claim Amounts are set forth in the respective

aging reports annexed hereto and made a part hereof as Exhibits “H” through “N”.

8. In order to assume the Objecting Landlords’ leases, the Debtors are required to
cure defaults existing under such leases pursuant to § 365(b)(1)(A) of the Bankruptcy Code,
which provides in relevant part that “[i]f there has been a default in an executory contract or
unexpired lease of the debtor, the trustee may not assume such contract or lease unless, at the
time of assumption of such contract or lease, the trustee cures, or provides adequate assurance
that the trustee will promptly cure, such default. . .” ll U.S.C. § 365(b)(1)(A).

9. The Debtors’ cure calculations as reflected in the Cure Notices understate the
Debtors’ cure obligations in relation to the amounts actually owed under the relevant leases.
Pursuant to § 1129(a)(1) and (2) of the Bankruptcy Code, both the Plan and the Debtors, as
proponents of the Plan, are required to comply with the applicable provisions of the Banl<ruptcy
Code. To the extent that the implementation of the Plan is dependent upon the assumption of the
Objection Landlords’ leases at confirmation, the Plan cannot be continued where the Debtors fail
to satisfy their cure obligations in accordance with § 365(b).

RESERVATION OF RIGHTS

10. The Obj ecting Landlords specifically reserve their rights to object to any other

relief sought by the Debtors in connection with the assumption of the applicable leases,

including, without limitation, the Debtors’ proposed adequate assurance of future performance

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CONCLUSION

11. For the foregoing reasons, the Objecting Landlords seek an order of this Court

fixing the Debtors’ respective cure obligations under the applicable leases in the amounts set

forth herein (less any payments made by the Debtors on account of such sums prior to the

assumption of the leases plus any additional post-petition amounts accruing under such leases

through the date thereof) and directing the Debtors promptly to satisfy such amounts following

the entry of an order confirming the Plan pursuant to §1129 of the Bankruptcy Code.

WHEREFORE, the Objecting Landlords respectfully request the entry of an order

granting the relief described herein, together with such other and further relief as is just and

proper.

Dated: October 29, 2018

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT ()F DELAWARE

 

 

ln re: : Chapter ll
MATTRESS FIRM, INC., : Case No. 18-12241 (CSS)
et al., :
Debtors. : (Jointly Administered)
CERTIFICATE OF SERVICE

 

The undersigned hereby certifies that on Cotober 29, 2018, he caused a copy of the
foregoing Objection of Columbus North Associates, LP, Blue Mountain IPG Associates and
Pennsylvania Real Estate Investment Trust, Goodmill, LLC, Good-Wash Properties, LLC, North
Baltimore Realty Associates, and Airport Associates, LP to Debtors’ Notice of Cure Amounts
Relating to Unexpired Leases that the Debtors May Assurne Pursuant to the Plan to be Served on
all parties on the attached service list via the Court’s CM/ECF electronic filing system.

/s/ Jeffrev Kurtzman
JEFFREY KURTZMAN

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